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11                                                         Attorneys for Defendant
                                                           X CORP. AS SUCCESSOR IN
12                                                         INTEREST TO TWITTER, INC.

13
                                   UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                           SAN FRANCISCO DIVISION
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17
      NHU WEINBERG, SAMANTHA GONGORA,                   Case No. 3:23-cv-04016-AMO
18    JULIA STEELE, OMOLADE OGUNSANYA,
      NANCI SILLS, KRISTA BESSINGER,                    JOINT STATUS REPORT
19    IKUHIRO IHARA, and others similarly
      situated,
20
                             Plaintiffs,
21
                       vs.
22
      TWITTER, INC. and X CORP.,
23
                             Defendants.
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                                                                           JOINT STATUS REPORT
                                                                      CASE NO. 4:23-CV-04016-AMO
     DB2/ 47195111.1
         Case 3:23-cv-04016-AMO Document 20 Filed 01/02/24 Page 2 of 4



 1             Plaintiffs Nhu Weinberg, Samantha Gongora, Julia Steele, Omolade Ogunsanya, Nanci

 2    Sills, Krista Bessinger, and Ikuhiro Ihara (“Plaintiffs”) and Defendant X Corp., on its own behalf

 3    and as successor in interest to Defendant Twitter, Inc. (hereinafter “Defendant”) (Plaintiffs and

 4    Defendant shall collectively be referred to as the “Parties”), by and through their undersigned

 5    counsel, hereby submit the following Joint Status Report:

 6             The Parties engaged in settlement discussions and attended a mediation on December 1,

 7    2023 in an effort to resolve this matter. The Parties were unable to resolve the claims in this

 8    matter at mediation. Accordingly, the Parties stipulate and request the following:

 9             1.      The stay previously entered in this matter shall be lifted effective immediately;

10             2.      Plaintiffs have not yet served the Summons and Complaint in this action upon

11                     Defendant and intend to do so by January 16, 2024; and

12             3.      A Case Management Conference should be scheduled to occur sometime in March

13                     2024, subject to the Court’s calendar.

14    IT IS SO STIPULATED.
                                                     Respectfully submitted,
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16                                                   NHU WEINBERG, SAMANTHA GONGORA,
                                                     JULIA STEELE, OMOLADE OGUNSANYA,
17                                                   NANCI SILLS, KRISTA BESSINGER, and
                                                     IKUHIRO IHARA
18
                                                     /s/ Shannon Liss-Riordan
19
                                                     Shannon Liss-Riordan, SBN 310719
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23                                                   email: bmanewith@llrlaw.com

24                                                   Respectfully submitted,

25                                                   X CORP. as successor in interest to
                                                     TWITTER, INC.
26
                                                     /s/ Eric Meckley
27
                                                     Eric Meckley, SBN 168181
28                                                   Brian D. Berry, SBN 229893

                                                                                    JOINT STATUS REPORT
                                                         2                       Case No. 4:23-cv-04016-AMO
     DB2/ 47195111.1
         Case 3:23-cv-04016-AMO Document 20 Filed 01/02/24 Page 3 of 4



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 5                                       email: brian.berry@morganlewis.com
 6
      Dated:           January 2, 2024
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                                                                   JOINT STATUS REPORT
                                            3                   Case No. 4:23-cv-04016-AMO
     DB2/ 47195111.1
         Case 3:23-cv-04016-AMO Document 20 Filed 01/02/24 Page 4 of 4



 1                                           [PROPOSED] ORDER

 2             Pursuant to the Parties’ Joint Status Report and Request to Lift Stay and for GOOD

 3    CAUSE appearing, the Court hereby orders that:

 4             1.      The stay previously entered in this matter is hereby lifted, effective immediately.

 5             2.      Plaintiffs shall serve the Summons and Complaint upon Defendant by January 16,

 6    2024; and

 7             3.      A Case Management Conference is scheduled for March __, 2024, at

 8    ______________. A joint case management conference statement must be filed with the Court at

 9    least seven days prior to the conference.

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      Dated: _________________________                       _____________________________
11                                                           The Honorable Araceli Martínez-Olguín
12                                                           United States District Court Judge

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                                                                                    JOINT STATUS REPORT
                                                         4                       Case No. 4:23-cv-04016-AMO
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